        Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 1 of 12



1
                            UNITED STATES DISTRICT COURT
2
                          NORTHERN DISTRICT OF CALIFORNIA
3
                                SAN FRANCISCO DIVISION
4
     IN RE GOOGLE PLAY STORE                 Case No. 3:21-cv-05227-JD
5    ANTITRUST LITIGATION
6    THIS DOCUMENT RELATES TO:                       DECLARATION OF JESSICA V. SUTTON IN
                                                     SUPPORT OF STATES’ NOTICE OF
7    State of Utah et al. v. Google LLC et al., Case MOTION AND MOTION FOR APPROVAL
     No. 3:21-cv-05227-JD                            OF NOTICE FOR PARENS PATRIAE
8                                                    CLAIMS
9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
       DECLARATION OF JESSICA V. SUTTON IN SUPPORT OF STATES’ NOTICE OF MOTION AND
               MOTION FOR APPROVAL OF NOTICE FOR PARENS PATRIAE CLAIMS

                                   Case No. 3:21-cv-05227-JD
       Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 2 of 12



           I, Jessica V. Sutton, declare as follows:
1

2          1.      I am an attorney duly admitted to practice in the State of North Carolina and before

3    this Court pro hac vice. I am a Special Deputy Attorney General in the Technology, Healthcare,

4    and Antitrust Section of the Consumer Protection Division of the North Carolina Department of
5
     Justice. I submit this declaration in support of the States’ Notice of Motion and Motion for
6
     Approval of Notice for Parens Patriae Claims. The contents of this declaration are based on my
7
     personal knowledge, including my personal knowledge of the documents cited herein. The facts
8
     set forth herein are within my personal knowledge and if called as a witness, I could and would
9
10   competently testify to them.

11         2.      Attached hereto as Exhibit A is a true and correct copy of the long-form notice for
12   the States’ parens claims.
13
           3.      Attached hereto as Exhibit B is a true and correct copy of the summary notice for
14
     the States’ parens claims.
15

16

17         I declare under penalty of perjury under the laws of the United States of America that the

18   foregoing is true and correct.

19         Executed this 27th day of July 2023 in Holly Springs, North Carolina.
20

21                                                               /s/    Jessica V. Sutton
22                                                                      Jessica V. Sutton

23

24

25

26

27

28
       DECLARATION OF JESSICA V. SUTTON IN SUPPORT OF STATES’ NOTICE OF MOTION AND
      MOTION FOR APPROVAL OF NOTICE FOR PARENS PATRIAE CLAIMS Case No. 3:21-cv-05227-JD
                                                       1
Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 3 of 12




               Exhibit A
         Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 4 of 12

          UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
        State of Utah et al. v Google LLC et al., Case Nos. 3:21-md-02981-JD and 3:21-cv-05227-JD

                          NOTICE OF STATE ATTORNEY GENERAL LAWSUIT

    If you made payments through the Google Play Store on or after
    August 16, 2016, a State Attorney General Lawsuit may affect your
    legal rights.
                                        A federal court directed this Notice.
                         This is not a solicitation from a lawyer. You are not being sued.

•    Attorneys General of 38 States and the District of Columbia (the “State Attorneys General”) have
     brought a consumer protection and antitrust lawsuit against Google (the “Action”). The State
     Attorneys General allege that consumers paid too much to Google for apps and for purchases made
     in apps downloaded from the Google Play Store because Google monopolized app distribution on
     certain Android devices and in-app billing services using the Google Play Store. The State Attorneys
     General also claim that by monopolizing app distribution, Google reduced consumers’ choices in apps.
     The State Attorneys General also allege that Google made misrepresentations to the public
     concerning the risks of getting apps from sources other than the Google Play Store and Google’s billing
     policies for apps.

•    Google denies any wrongdoing.

•    This is a “parens patriae” action. That is a legal term for a case where state attorneys general bring
     claims on behalf of people living in their states at the time they were impacted by the allegedly
     unlawful conduct. This includes you, if you paid for an app through the Google Play Store or paid for
     in-app content through Google Play Billing on or after August 16, 2016 and when you made the
     purchase you had a Google payments profile address in any of the jurisdictions listed below:

               Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Delaware, Florida,
               Idaho, Indiana, Iowa, Kentucky, Maine, Maryland, Massachusetts, Minnesota,
               Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey,
               New Mexico, New York, North Carolina, North Dakota, Oklahoma, Oregon, Rhode
               Island, South Dakota, Tennessee, Texas, Virginia, Vermont, Utah, Washington, West
               Virginia, and the District of Columbia.

•    The Court has not decided whether Google did anything wrong. There are no benefits or money
     available now, and no guarantee that there will ever be. However, your legal rights are affected if you
     are a member of the Action, and you have a choice to make now.

•    The State Attorneys General must prove the claims against Google at trial.

•    If money or benefits are obtained by the State Attorneys General, either through a settlement or after
     a trial, you will be notified about how to request a share.

     Your options—and the deadlines to exercise them—are explained in this Notice.
     Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 5 of 12

                             LEGAL RIGHTS AND OPTIONS
Do Nothing                  Stay in the Action. Await the outcome. Give up certain rights.

                            By doing nothing, you keep the possibility of getting money or benefits
                            that may come from a trial or a settlement. But you will give up any
                            rights to sue, or continue to sue, Google separately over the claims at
                            issue in these actions.

Exclude Yourself            Get out of the Action. Get no benefits from the Action. Keep your right
                            to sue Google. If you believe that you are a member of the Action and
                            wish to be excluded, you must act before __________, 2023.

                            If you ask to be excluded, any money or benefits are later awarded to
                            consumers in the states represented by the State Attorneys General,
                            you will not share in those. But you keep any rights to sue Google
                            separately over the claims at issue in this lawsuit.



             Your rights and options are explained in more detail in this Notice.
                         Please read this Notice carefully and completely.
         Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 6 of 12

                                         BASIC INFORMATION

1.    Why did I get this Notice?
     You received this Notice because Google’s records show you may have paid for an app through
     the Google Play Store or paid for in-app content (including purchases in gaming apps,
     subscriptions, and ad-free versions of apps) through Google Play Billing since August 16, 2016 (a
     “Qualifying Purchase”) when, at the time of purchase, your Google payments profile address was
     located in one of the jurisdictions described below:

             Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Delaware, Florida, Idaho,
             Indiana, Iowa, Kentucky, Maine, Maryland, Massachusetts, Minnesota, Mississippi,
             Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New
             York, North Carolina, North Dakota, Oklahoma, Oregon, Rhode Island, South Dakota,
             Tennessee, Texas, Virginia, Vermont, Utah, Washington, West Virginia, and the District of
             Columbia.
     A Qualifying Purchase includes, for example, paying to download a game or making a purchase in
     an app downloaded from the Google Play Store.

     If the “legal address” listed in your Google payments profile at the time you made a Qualifying
     Purchase is in one of the states listed above, you are a member of this Action. This Notice explains
     that you have legal rights and options that you may exercise before the Court holds a trial. The
     trial is to decide whether the State Attorneys General have proven their claims against Google.

     United States District Court Judge James Donato of the United States District Court for the
     Northern District of California is overseeing the Action. The Action is titled State of Utah et al. v
     Google LLC et al., Case Nos. 3:21-md-02981-JD and 3:21-cv-05227-JD.


2.    What is this Action about?
     This Action was brought by State Attorneys General as “parens patriae”* for consumers in 39
     states and districts against Google.

     The State Attorneys General allege that consumers paid too much to Google for apps and for
     purchases made in apps downloaded from the Google Play Store because Google monopolized
     app distribution on certain Android devices and in-app billing services using the Google Play Store.
     The State Attorneys General also claim that by monopolizing app distribution, Google reduced
     consumers’ choices in apps. The State Attorneys General allege that this conduct violated federal
     and state antitrust and consumer protection laws.

     * “Parens patriae” is a legal term for a case where State Attorneys General bring claims on behalf
     of people living in their states at the time they were impacted by the allegedly unlawful conduct.

     This is not a class action. However, the law permitting “parens patriae” actions authorizes the
     Court to give notice to the people on whose behalf this action is being brought, and to allow any
     persons to exclude themselves from the action who wish to do so.

     Google denies any wrongdoing and denies the allegations in the Complaint.

     A copy of the Complaint and Google’s answer to the Complaint is also available for review at
     www.XXXXXXXX.com.
         Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 7 of 12

     The Court has not decided who is right or whether Google did anything wrong.

     By issuing this Notice, the Court is not suggesting that the State Attorneys General will win or lose
     their case. The State Attorneys General must prove their claims in this litigation, including at trial.


3.    What relief is the Action asking for?
     The State Attorneys General ask the Court to award money damages equal to the amounts
     consumers in their jurisdictions at the time the Qualifying Purchase was made overpaid to Google
     for apps and in-app digital content, and also representing the loss in app variety, as a result of
     Google’s monopolization of Android app distribution and in-app billing services. The State
     Attorneys General also seek other relief those consumers may be entitled to, including attorneys’
     fees, reimbursement of litigation expenses, and other remedies.

     The State Attorneys General also seek civil penalties and injunctive relief. These claims are
     separate from the money damages claims on behalf of consumers.




 4.     Your Counsel

     The Attorney General’s Office of each jurisdiction is acting as counsel for its own constituents.
     That means if you gave Google a legal address in one of the states listed under Question 1, and
     made a Qualifying Purchase, the Attorney General for that state is prosecuting your claims for
     purchases you made while that was the address listed in your Google payments profile.


                                    YOUR RIGHTS AND OPTIONS
If you believe that you are a part of the Action, you have to decide now whether to remain a
                                member or ask to be excluded.

5.    What happens if I do nothing at all?
     If you want to continue to be represented by the State Attorneys General you do not have to do
     anything. If you do nothing, and are part of the Action, you will remain a part of that Action. You
     will not be able to sue, or continue to sue, Google separately—as part of any other lawsuit—over
     the claims at issue in this Action. You will also be legally bound by all of the orders and judgments
     that the Court issues in this Action.

     If you remain in the Action, and there is an award of money or benefits resolving your claims,
     either as a result of a trial or settlement, you will be notified about how to apply for a share of the
     benefits.


6.    Why would I ask to be excluded?
     If you want to hire a lawyer and bring your own case against Google, then you should exclude
     yourself from the Action—which is sometimes called “opting-out”. You will not get any money or
     benefits obtained for consumers as a result of a trial or settlement in this case. You also will not
          Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 8 of 12

      be legally bound by the Court’s judgments and orders in this Action. You therefore may be able
      to sue or continue to sue Google on your own for the claims that are the subject of this lawsuit.

     If you bring your own lawsuit against Google after you exclude yourself, you will have to hire and
     pay your own lawyer for that lawsuit, and you will have to prove your claims. If you do exclude
     yourself so you can start or continue your own lawsuit against Google, you should talk to your
     own lawyer soon.


 7. How do I exclude myself from the Action?
     To exclude yourself from the Action, you must complete an opt-out form online or send a letter
     saying that you want to be excluded. You may only exclude yourself: you cannot submit an
     exclusion request for or on behalf of any other person or group of persons.

     You may obtain and submit an exclusion request form at www.XXXXXXX.com. If you want to
     exclude yourself through the website you must do so by _____, 2023.

     If you want to exclude yourself by sending a letter, the letter must include the following
     information: (1) the name of the lawsuit (State of Utah et al. v Google LLC et al., Case Nos. 3:21-
     md-02981-JD and 21-cv-05227-JD); (2) your full name, email address, and mailing address; (3) a
     clear statement of your intention to exclude yourself (such as “I wish to be excluded from the
     Action”); and (4) your signature. Your letter must be postmarked by ___________, 2023, and sent
     to:

                                          [Notice Administrator]
                                ATTN: State of Utah et al. v Google LLC et al.
                                      [Notice Administrator Address]
                                      [Notice Administrator Address]

     You cannot exclude yourself by telephone or by email.


8.     How and when will the Court decide who is right?
     The trial has been set for November 6, 2023 at 9:00 a.m. in federal court in San Francisco,
     California.


9.     Do I have to come to trial?
     You do not need to attend the trial. The State Attorneys General will present the case, and Google
     will present its defenses. You are welcome to come to the trial at your own expense, if you wish.


10.      Will I get money?
     No money or benefits are available now because neither a Court nor a jury has decided whether
     Google did anything wrong, and the two sides have not settled the case. There is no guarantee
     that money or benefits will ever be obtained. If money or benefits are obtained by the State
     Attorneys General as a result of the parens patriae damages claims, either through a settlement
    Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 9 of 12

or after a trial, you will be notified about how to request a share if you are a member of the Action.
You will not be entitled to a share of any civil fines or penalties recovered for the States.


                                 ADDITIONAL INFORMATION
THIS NOTICE IS ONLY A SUMMARY. The Complaint and certain other pleadings and relevant
documents are available on the website, at www.XXXXXXX.com.

If you have questions or want more information, you may call (___) ________, or you may contact
the Administrator by email at XXXX@XXXXXXXX.com, or by writing to:

                               State of Utah et al. v Google LLC et al.
                                       [Notice Administrator]
                                  [Notice Administrator Address]
                                  [Notice Administrator Address]

        PLEASE DO NOT CALL OR WRITE TO THE COURT OR THE CLERK’S OFFICE FOR
             INFORMATION. THE COURT CANNOT ANSWER ANY QUESTIONS.

DATED: MONTH, XX, 2023

                                                               BY ORDER OF THE UNITED STATES
                                                               DISTRICT COURT FOR THE
                                                               NORTHERN DISTRICT OF
                                                               CALIFORNIA
Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 10 of 12




                Exhibit B
              Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 11 of 12

                    UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
               State of Utah et al. v Google LLC et al., Case Nos. 3:21-md-02981-JD and 3:21-cv-05227-JD

                                   NOTICE OF STATE ATTORNEY GENERAL LAWSUIT

ATTENTION:     CONSUMERS WHO MADE PAYMENTS THROUGH THE GOOGLE PLAY STORE

               THIS IS A COURT-APPROVED NOTICE AND NOT A SOLICITATION FROM A LAWYER

     Please read this Notice carefully. You are receiving this Notice because you may have paid for an app through the
Google Play Store or paid for in-app digital content (including purchases in gaming apps, subscriptions, and ad-free
versions of apps) through Google Play Billing (a “Qualifying Purchase"). For example, if you paid to download a game or
make a purchase in an app downloaded from the Google Play Store, you may have important rights concerning the State
Attorney General lawsuit described below.

     Attorneys General of 38 States and the District of Columbia (“State Attorneys General”) have brought a consumer
protection and antitrust lawsuit against Google (the “Action”). The State Attorneys General allege that consumers paid
too much to Google for apps and for purchases made in apps downloaded from the Google Play Store because Google
monopolized app distribution on certain Android devoices and in-app billing services using the Google Play Store. The
State Attorneys General also claim that by monopolizing app distribution, Google reduced consumers’ choices in apps.
The State Attorneys General also allege that Google made misrepresentations to the public concerning the risks of getting
apps from sources other than the Google Play Store and Google’s billing policies for apps.

    The State Attorneys General brought this lawsuit in their parens patriae 1* capacity, on behalf of consumers who
made Qualifying Purchases through Google Play Billing on or after August 16, 2016 and who, at the time of the purchase,
had a Google payments profile address in any of the jurisdictions listed below:

      Alaska, Arizona, Arkansas, California, Colorado, Connecticut, Delaware, Florida, Idaho, Indiana, Iowa,
      Kentucky, Maine, Maryland, Massachusetts, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada,
      New Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Oklahoma, Oregon,
      Rhode Island, South Dakota, Tennessee, Texas, Virginia, Vermont, Utah, Washington, West Virginia, and the
      District of Columbia.
     You are receiving this Notice because Google’s internal records show that you may have made a Qualifying Purchase
using a Google payments profile billing address located in any of the jurisdictions listed above.

     If the “legal address” listed in your Google payments profile at the time you made a Qualifying Purchase is in one of
the jurisdictions listed above, you are a member of this Action and your interests are represented by the State Attorney
General in the above-listed jurisdiction listed in your Google payments profile when you made your Qualifying
Purchase(s). You also have the right to hire your own lawyer instead at your expense.

     If you are covered by this Action and do nothing, you will remain a member of this Action and will be bound by all
orders, judgments, and decisions of the Court. If there is an award of money to consumers, you will be notified about
further steps, if any, that may be needed to apply for your part of it.

     If you do not want to remain covered by the Action or wish to file your own claim against Google, you must submit
a request to be excluded on or before _______________ ____________, 2023. To learn more about or to submit a
request for exclusion, go to www.XXXXXXXX.com.




* “Parens Patriae” is a legal term for a case where state attorneys general bring claims on behalf of people living in
1

their states at the time they were impacted by the allegedly unlawful conduct.
              Case 3:21-md-02981-JD Document 545-2 Filed 07/27/23 Page 12 of 12

     An administrator appointed by the Court is sending this Summary Notice. To view the full Notice approved by the
Court, and for more information about the Action, including certain important Court filings, go to www.XXXXXXXX.com
or contact the administrator at (800) XXX-XXXX or by email to XXXXX@XXXXXXXXX.

                                     BY ORDER OF THE UNITED STATES COURT
                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
